
PER CURIAM.
This is an appeal from a judgment and sentence entered by the Circuit Court of Orange County, Florida. The Public Defender has filed an Anders1 motion and brief requesting leave to withdraw as counsel for appellant and representing to this *753court that no reversible error appears. On May 6, 1980, this court gave the appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed. The court has reviewed counsel’s brief and the record herein and no reversible error appears. The motion of the Public Defender to withdraw is hereby granted, and the judgment and sentence is hereby
AFFIRMED.
DAUKSCH, C. J., and ORFINGER and COWART, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

